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SILLS CUMMIS & GROSS P.C.
S. Jason Teele, Esq. (steele@sillscummis.com)
Daniel J. Harris, Esq. (dharris@sillscummis.com)
Gregory A. Kopacz, Esq. (gkopacz@sillscummis.com)
One Riverfront Plaza
Newark, New Jersey 07102
(973) 643-7000 (Telephone)
(973) 643-6500 (Facsimile)

Proposed Counsel to the Debtors
and Debtors-in-Possession

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


In re:                                             Chapter 11

NATIONAL REALTY INVESTMENT                         Case No.: 22-14539-(JKS)
ADVISORS, LLC, et al.1
                                                   (Joint Administration Requested)
                        Debtors.


                        DEBTORS’ APPLICATION FOR EXPEDITED
                        CONSIDERATION OF FIRST DAY MATTERS
          On June 7, 2022, the above-captioned debtors and debtors in possession (the “Debtors”)

each filed a petition for relief under chapter 11 of title 11 of the United States Code, commencing

the above-captioned chapter 11 cases (collectively, the “Chapter 11 Cases”). Counsel for the
Debtors requests that the following relief be provided on a first day basis:


1. Debtors’ Motion For Entry Of An Order (A) Directing Joint Administration Of Chapter 11
   Cases And (B) Granting Related Relief

2. Application for Designation as Complex Chapter 11 Cases




1
       A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://omniagentsolutions.com/NRIA. The location of the
Debtors’ service address is: 1 Harmon Plaza, Floor 9, Secaucus, New Jersey 07094.


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   Debtors’ Motion For Entry of An Order (I) Granting The Debtors An Extension Of Time To
3. File Their List Of Creditors; (II) Authorizing The Debtors And/Or Their Agent To (A)
   Prepare A Consolidated List Of Creditors In Lieu Of A Mailing List And (B) Mail Initial
   Notices; And (III) Granting Related Relief

   Debtors’ Motion For Entry of An Order (A) Extending Time to File Schedules of Assets
4. And Liabilities, Schedules Of Current Income And Expenditures, Schedules Of Executory
   Contracts And Unexpired Leases, Statements of Financial Affairs, and (B) Granting Related
   Relief

   Debtors’ Motion For Entry Of An Order Authorizing The Debtors To File Under Seal
5. Portions Of The Debtors’ Consolidated Creditor Matrix Containing Certain Individual
   Creditor Information

   Debtors’ Motion For Entry Of Interim And Final Orders Authorizing, But Not Directing,
6. The Debtors To (A) Pay Certain Prepetition Wages, Salaries, Reimbursable Employee
   Expenses And Other Employee Compensation Expenses, And Taxes Related Thereto,
   (B) Honor Certain Employee Benefits, (C) Directing The Debtors’ Banks To Honor Checks
   And Transfers Of Prepetition Employee Obligations, And (D) Granting Related Relief

   Debtors’ Motion For Entry Of An Order Authorizing The Debtors To (I) Pay Pre-Petition
7. Insurance Premiums (II) Continue Pre-Petition Insurance Programs And (III) Pay All Pre-
   Petition Obligations In Respect Thereof

   Debtors’ Motion For Entry Of Interim And Finals Orders Authorizing The Debtors To
8. (I) Continue And Maintain Their Existing Cash Management System And Bank Accounts;
   And (II) Continue Using Their Existing Business Forms, Checks, And Records


                                             NOTICE

          Notice of the Order granting this application will be made under D.N.J. LBR 9013-5(f)

on the following parties by email and overnight mail: (i) the Office of the United States Trustee

for the District of New Jersey, One Newark Center, Suite 2100, Newark, NJ 07102; (ii) the

Debtors’ thirty largest unsecured creditors and twenty largest investors, each on a consolidated

basis; (iii) S3 RE Bergenline Funding, LLC, S3 RE 1300 Manhattan Funding LLC, and

LendingOne LLC; (iv) the U.S. Attorney General; (v) the Internal Revenue Service; (vi) the

Securities and Exchange Commission; (vii) the New Jersey Attorney General; (viii) the U.S.

Attorney for the District of New Jersey; (ix) the New Jersey Division of Taxation; (x) the New

Jersey Bureau of Securities; (xi) the New York Attorney General; (xii) the New York


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Department of Taxation and Finance; (xiii) the Florida Attorney General; (xiv) the Florida

Department of Revenue; (xv) the Illinois Attorney General; (xvi) the Illinois Department of

Revenue; (xvii) the Illinois Securities Department; (xviii) the Alabama Attorney General;

(xix) the Alabama Department of Revenue; (xx) the Alabama Securities Commission; (xxi) the

Debtors’ banking institutions; (xxii) the Debtors’ insurance providers; and (xxiii) those parties

who have filed a notice of appearance and request for service of pleadings in these Chapter 11

Cases pursuant to Bankruptcy Rule 2002.

          WHEREFORE, the Debtors respectfully request entry of an order granting the relief

 requested herein and granting such other relief as is just and proper.

Dated: June 8, 2022                           SILLS CUMMIS & GROSS P.C.

                                              /s/ S. Jason Teele
                                              S. Jason Teele, Esq.
                                              Daniel J. Harris, Esq.
                                              Gregory A. Kopacz Esq.
                                              One Riverfront Plaza
                                              Newark, New Jersey 07102
                                              (973) 643-7000 (Telephone)
                                              (937) 643-6500 (Facsimile)
                                              steele@sillscummis.com
                                              dharris@sillscummis.com
                                              gkopacz@sillscummis.com

                                              Proposed Counsel to the Debtors and Debtors-in-
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1

SILLS CUMMIS & GROSS P.C.
S. Jason Teele, Esq. (steele@sillscummis.com)
Daniel J. Harris, Esq. (dharris@sillscummis.com)
Gregory Kopacz, Esq. (gkopacz@sillscummis.com)
One Riverfront Plaza
Newark, New Jersey 07102
(973) 643-7000 (Telephone)
(973) 643-6500 (Facsimile)

Proposed Counsel to the Debtor
and Debtor-in-Possession


In re:

NATIONAL REALTY INVESTMENT ADVISORS,                             Chapter 11
LLC, et al.1
                                                                 Case No. 22-14539 (JKS)
                        Debtors.
                                                                 (Joint Administration Requested)


         ORDER REGARDING EXPEDITED CONSIDERATION OF FIRST DAY MATTERS


          The relief set forth on the following pages, numbered two (2) and three (3), is hereby
ORDERED.




1
        A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://omniagentsolutions.com/NRIA. The location of the Debtors’
service address is: 1 Harmon Plaza, Floor 9, Secaucus, New Jersey 07094.
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Page:            2
Debtor:          National Realty Investment Advisors, LLC, et al.
Case No.:        22-14539
Caption:         Order Regarding Debtors’ Application For Expedited Consideration of First Day
                 Matters


          IT IS ORDERED the following applications and motions (collectively, the “Motions”),

 to be filed by the above-captioned debtors and debtors in possession (the “Debtors”), are

 scheduled for hearing on June 9, 2022 at 3:30 p.m. (ET) before the Honorable Judge John K.

 Sherwood in Courtroom 3D located at Martin Luther King, Jr. Federal Building, 50 Walnut

 Street, Third Floor, Newark, New Jersey, 07102:

1. Debtors’ Motion For Entry Of An Order (A) Directing Joint Administration Of Chapter 11
   Cases And (B) Granting Related Relief

2. Application for Designation as Complex Chapter 11 Cases

   Debtors’ Motion For Entry of An Order (I) Granting The Debtors An Extension Of Time To
3. File Their List Of Creditors; (II) Authorizing The Debtors And/Or Their Agent To (A)
   Prepare A Consolidated List Of Creditors In Lieu Of A Mailing List And (B) Mail Initial
   Notices; And (III) Granting Related Relief

   Debtors’ Motion For Entry of An Order (A) Extending Time to File Schedules of Assets
4. And Liabilities, Schedules Of Current Income And Expenditures, Schedules Of Executory
   Contracts And Unexpired Leases, Statements of Financial Affairs, and (B) Granting Related
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   Debtors’ Motion For Entry Of An Order Authorizing The Debtors To File Under Seal
5. Portions Of The Debtors’ Consolidated Creditor Matrix Containing Certain Individual
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   Debtors’ Motion For Entry Of Interim And Final Orders Authorizing, But Not Directing,
6. The Debtors To (A) Pay Certain Prepetition Wages, Salaries, Reimbursable Employee
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   (B) Honor Certain Employee Benefits, (C) Directing The Debtors’ Banks To Honor Checks
   And Transfers Of Prepetition Employee Obligations, And (D) Granting Related Relief

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8. (I) Continue And Maintain Their Existing Cash Management System And Bank Accounts;
   And (II) Continue Using Their Existing Business Forms, Checks, And Records



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Debtor:        National Realty Investment Advisors, LLC, et al.
Case No.:      22-14539
Caption:       Order Regarding Debtors’ Application For Expedited Consideration of First Day
               Matters


       IT IS FURTHER ORDERED, that service of this Order must be made under D.N.J.

LBR 9013-5(f) on the following parties by email and overnight mail: (i) the Office of the United

States Trustee for the District of New Jersey, One Newark Center, Suite 2100, Newark, NJ

07102; (ii) the Debtors’ thirty largest unsecured creditors and twenty largest investors, each on a

consolidated basis; (iii) S3 RE Bergenline Funding, LLC, S3 RE 1300 Manhattan Funding LLC,

and LendingOne LLC; (iv) the U.S. Attorney General; (v) the Internal Revenue Service; (vi) the

Securities and Exchange Commission; (vii) the New Jersey Attorney General; (viii) the U.S.

Attorney for the District of New Jersey; (ix) the New Jersey Division of Taxation; (x) the New

Jersey Bureau of Securities; (xi) the New York Attorney General; (xii) the New York

Department of Taxation and Finance; (xiii) the Florida Attorney General; (xiv) the Florida

Department of Revenue; (xv) the Illinois Attorney General; (xvi) the Illinois Department of

Revenue; (xvii) the Illinois Securities Department; (xviii) the Alabama Attorney General;

(xix) the Alabama Department of Revenue; (xx) the Alabama Securities Commission; (xxi) the

Debtors’ banking institutions; (xxii) the Debtors’ insurance providers; and (xxiii) those parties

who have filed a notice of appearance and request for service of pleadings in these Chapter 11

Cases pursuant to Bankruptcy Rule 2002.

       IT IF FURTHER ORDERED, that objections and/or responses to the Motions, if any,

 may be made under D.N.J. LBR 9013-5(d).
